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                           UNITED STATES DISTRICT COURT
                          OF THE DISTRICT OF CONNECTICUT


 KIMBERLY A. NEGRON, Individually and on
 Behalf of All Others Similarly Situated,              No. 3:16-cv-1702

                               Plaintiff,

        vs.                                            December 1, 2016

 CIGNA CORPORATION and CIGNA HEALTH
 AND LIFE INSURANCE COMPANY,

                               Defendants.


 DANIEL PERRY, Individually and on Behalf of
 All Others Similarly Situated,                        No. 3:16-cv-01904

                               Plaintiff,

        vs.

 CIGNA CORPORATION and CIGNA HEALTH
 AND LIFE INSURANCE COMPANY,
 OPTUMRX, INC.

                               Defendants.


    SUPPLEMENTAL MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’
    UNOPPOSED MOTION TO CONSOLIDATE AND APPOINT INTERIM CLASS
                            COUNSEL

       Plaintiffs respectfully submit this supplemental memorandum of law in support of their

motion to consolidate and appoint interim class counsel [ecf no. 8]. The parties have met and

conferred and made changes to the proposed order. The amended proposed order, a copy of which

is attached hereto, is now unopposed as set forth herein.

       The amended proposed order differs from the initial proposed order in four ways. First, the

amended proposed order provides that consolidation is for pretrial purposes, not all purposes (¶ 2).
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Second, the amended proposed order allows Defendants the right to object to consolidation of

subsequently filed or transferred cases (¶ 4). Third, the amended proposed order clarifies that

Defendants have sixty (60) days to respond to the Consolidated Complaint (¶ 6). Defendants

consent to these changes.

          Fourth, the amended proposed order appoints Joseph P. Guglielmo as Chair of Plaintiffs’

Executive and includes Derek Loeser of Keller Rohrback, LLP and Karen Hanson Riebel of

Lockridge Grindal Nauen PLLP as members of that Committee (¶ 11).1 Defendants have been

advised of this change, and take no position on it or Plaintiffs’ request for appointment of interim

class counsel generally.

          Accordingly, the motion is now unopposed as explained herein and the parties request that

the Court grant the motion in order to set an appropriate schedule for the orderly litigation of this

matter.

          DATED: December 1, 2016

          Respectfully submitted,



                                                            /s/ Robert A. Izard
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 For information on Keller Rohrback and Lockridge Grindal, please see Declarations of Derek W. Loeser and
Karen Hanson Riebel and the exhibits thereto.


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                                 CERTIFICATE OF SERVICE

       I hereby certify that on December 1, 2016, I caused the foregoing to be electronically filed

with the Clerk of the Court using the CM/ECF system, which will send notification of such filing

to the email addresses denoted on the Electronic Mail Notice List, and I hereby certify that I caused

the foregoing document or paper to be mailed via the United States Postal Service to the non-

CM/ECF participants indicated on the Manual Notice List.

                                                                 /s/ Robert A. Izard
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